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 6                                    UNITED STATES DISTRICT COURT
 7                                   WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
 8
     BRUCE CORKER d/b/a RANCHO ALOHA;              CIVIL ACTION NO. 2:19-cv-0290RSL
 9   COLEHOUR BONDERA and MELANIE
     BONDERA, husband and wife d/b/a               ORDER STAYING CASE DEADLINES
10   KANALANI OHANA FARM; and ROBERT               AS TO THE KROGER CO.
     SMITH and CECELIA SMITH, husband and
11   wife d/b/a SMITHFARMS, on behalf of
     themselves and others similarly situated,
12
                       Plaintiffs,
13
     v.
14
     COSTCO WHOLESALE CORPORATION, a
15   Washington corporation; AMAZON.COM,
     INC., a Delaware corporation; HAWAIIAN
16   ISLES KONA COFFEE, LTD., LLC, a
     Hawaiian limited liability company; COST
17   PLUS/WORLD MARKET, a subsidiary of
     BED BATH & BEYOND, a New York
18   corporation; BCC ASSETS, LLC d/b/a
     BOYER’S COFFEE COMPANY, INC., a
19   Colorado corporation; JAVA LLC, a Michigan
     limited liability company; MULVADI
20   CORPORATION, a Hawaii corporation;
     COPPER MOON COFFEE, LLC, an Indiana
21   limited liability company; GOLD COFFEE
     ROASTERS, INC., a Florida corporation;
22   CAMERON’S COFFEE AND
     DISTRIBUTION COMPANY, a Minnesota
23   corporation; PACIFIC COFFEE, INC., a
     Hawaii corporation; THE KROGER CO., an
24   Ohio corporation; WALMART INC., a
     Delaware corporation; BED BATH &
25   BEYOND INC., a New York corporation;
     ALBERTSONS COMPANIES INC., a
26

     ORDER                                               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
     CASE NO. 2:19-CV-00290-RSL                                               250 Hudson Street, 8th Floor
                                                                               New York, NY 10013-1413
                                                                     Tel. 212.355.9500 • Fax 212.355.9592
       Case 2:19-cv-00290-RSL Document 533 Filed 10/20/21 Page 2 of 2




 1   Delaware Corporation; SAFEWAY INC., a
     Delaware Corporation; MNS LTD., a Hawaii
 2   Corporation; MARMAXX OPERATING
     CORP. d/b/a T.J. MAXX and MARSHALLS, a
 3   Delaware corporation; SPROUTS FARMERS
     MARKET, INC. a Delaware corporation, and
 4   KEVIN KIHNKE, an individual,

 5            Defendants.

 6
              Plaintiffs have filed a Notice of Settlement with The Kroger Co. (“Kroger”). All case
 7
     deadlines with respect to Kroger are STAYED. This order does not affect discovery or deadlines
 8
     as applied to any other Defendants.
 9

10            Dated this 20th day of October, 2021.
11

12
                                                   Robert S. Lasnik
13                                                 United States District Judge

14   Presented by:

15   LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

16          /s/ Daniel E. Seltz
     Daniel E. Seltz (pro hac vice)
17   250 Hudson Street, 8th Floor
     New York, NY 10013
18   Telephone: 212-355-9500
     Email: dseltz@lchb.com
19
     KARR TUTTLE CAMPBELL
20
     Paul Richard Brown, WSBA #19357
21   Nathan T. Paine, WSBA #34487
     Daniel T. Hagen, WSBA #54015
22   Joshua M. Howard, WSBA #52189
     701 Fifth Avenue, Suite 3300
23   Seattle, Washington 98104
     206.223.1313
24   npaine@karrtuttle.com

25

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     ORDER                                                       LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
     CASE NO. 2:19-CV-00290-RSL                                                       250 Hudson Street, 8th Floor
                                                     1                                 New York, NY 10013-1413
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